                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

KATIE D. SCOTT and                                   )
LINDA ATTKISSON FOSTER,                              )
                                                     )
       Plaintiffs/Counter-Defendants,                )
                                                     )
v.                                                   )       Civil No. 1:11-0076
                                                     )       Judge Trauger
MIDLAND NATIONAL LIFE INSURANCE,                     )
                                                     )
       Defendant/Counter-Plaintiff.                  )

                                           ORDER

       It is hereby ORDERED that the initial case management conference scheduled for

December 8, 2011 is CANCELLED. It appears to the court that this case should be

administratively closed on the court’s docket and the Clerk is directed to

ADMINISTRATIVELY CLOSE this case, pending a possible request to distribute the funds

paid into the court.

       It is so ORDERED.

       ENTER this 6th day of December 2011.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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